            Case 3:20-cv-07721-SI         Document 85     Filed 12/21/20     Page 1 of 5




     JENNIFER C. PIZER (SBN 152327)                 JEFFREY S. TRACHTMAN*
 1
     jpizer@lambdalegal.org                         jtrachtman@kramerlevin.com
 2   LAMBDA LEGAL DEFENSE AND                       AARON M. FRANKEL*
         EDUCATION FUND, INC.                       afrankel@kramerlevin.com
 3   4221 Wilshire Boulevard, Suite 280             JASON M. MOFF*
     Los Angeles, California 90010                  jmoff@kramerlevin.com
 4   Telephone: (213) 590-5903                      CHASE MECHANICK*
                                                    cmechanick@kramerlevin.com
 5
     OMAR GONZALEZ-PAGAN*                           KRAMER LEVIN NAFTALIS &
 6   ogonzalez-pagan@lambdalegal.org                    FRANKEL LLP
     RICHARD SAENZ*                                 1177 Avenue of the Americas
 7   rsaenz@lambdalegal.org                         New York, New York 10036
     LAMBDA LEGAL DEFENSE AND                       Telephone: (212) 715-9100
 8      EDUCATION FUND, INC.
 9   120 Wall Street, 19th Floor                    AUSTIN MANES (SBN 284065)
     New York, New York 10005                       amanes@kramerlevin.com
10   Telephone: (212) 809-8585                      KRAMER LEVIN NAFTALIS &
                                                       FRANKEL LLP
11   BRIDGET CRAWFORD*                              990 Marsh Road
     bcrawford@immigrationequality.org              Menlo Park, California 94025
12   IMMIGRATION EQUALITY                           Telephone: (650) 752-1718
13   594 Dean Street
     Brooklyn, New York 11238                       * Application for admission pro hac vice
14   Telephone: (212) 714-2904                      forthcoming.

15

16                               IN THE UNITED STATES DISTRICT COURT
17                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
18
     IMMIGRATION EQUALITY; OASIS                      Case No.: 3:20-cv-09258 (Filed in the earlier
19   LEGAL SERVICES; THE TRANSLATIN@                  matter, 3:20-cv-07721-SI, and lodged in the
20   COALITION; BLACK LGBTQIA+                        instant-captioned matter)
     MIGRANT PROJECT; TRANSGENDER
21   LAW CENTER,                                     PLAINTIFFS’ ADMINISTRATIVE MOTION
                                                     TO CONSIDER WHETHER CASES
22                 Plaintiffs,                       SHOULD BE RELATED UNDER CIVIL L.R.
                                                     3-12. [Civil L.R. 7-11]
23
            v.
24
     U.S. DEPARTMENT OF HOMELAND
25   SECURITY; PETE GAYNOR, in his official
     capacity, if any, as Acting Secretary of the
26   Department of Homeland Security; CHAD F.
     WOLF, in his official capacity, if any, as
27
     Acting Secretary of the Department of
28
     PLAINTIFFS’ ADMIN. MOTION                                           Case No.: 3:20-cv-09258
     TO CONSIDER RELATED CASES
            Case 3:20-cv-07721-SI         Document 85   Filed 12/21/20   Page 2 of 5




     Homeland Security; U.S. DEPARTMENT OF
 1
     JUSTICE; WILLIAM P. BARR, in his official
 2   capacity as United States Attorney General;
     EXECUTIVE OFFICE FOR IMMIGRATION
 3   REVIEW; JAMES MCHENRY, in his official
     capacity as Director of the Executive Office for
 4   Immigration Review; U.S. CITIZENSHIP
     AND IMMIGRATION SERVICES;
 5
     KENNETH T. CUCCINELLI, in his official
 6   capacity as an Agent of the Department of
     Homeland Security,
 7
                    Defendants.
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     PLAINTIFFS’ ADMIN. MOTION                                       Case No.: 3:20-cv-09258
     TO CONSIDER RELATED CASES
             Case 3:20-cv-07721-SI         Document 85        Filed 12/21/20      Page 3 of 5




 1          Pursuant to Civil Local Rules 3-12 and 7-11, Plaintiffs Immigration Equality, Oasis Legal
 2 Services, The TransLatin@ Coalition, Black LGBTQIA+ Migrant Project, and Transgender Law

 3 Center (collectively, “Plaintiffs”), respectfully submit this Administrative Motion to Consider Whether

 4 Cases Should Be Related. The above-captioned case, Immigration Equality v. U.S. Department of

 5 Homeland Security (“Later Case”) is related as defined by Civil Local Rule 3-12(a) to the earlier-filed

 6 case Pangea Legal Services v. U.S. Department of Homeland Security, Case No. 20-cv-07721-SI (N.D.

 7 Cal., filed November 2, 2020) (“Earlier Case”). Compare Earlier Case at Dkt. No. 1 (“Pangea

 8 Complaint”) and Later Case at Dkt. No. 1 (“Imm. Eq. Complaint”).

 9          These cases are related because they concern many of the same defendants, as well as similar
10 plaintiffs, subject matter, and legal issues. See Civil L.R. 3-12(a)(1)-(2) (assigning cases as related

11 when claims in one action “concern substantially the same parties, property, transaction or event” as

12 earlier-filed lawsuit). Moreover, “[i]t appears likely that there will be an unduly burdensome

13 duplication of labor and expense or conflicting results if the cases are conducted before different

14 Judges.” See id.

15          These cases were filed less than two months apart and have substantial overlap in parties,
16 subject matter, and legal issues. See Declaration of Jennifer C. Pizer (“Pizer Decl.”) filed herewith, ¶

17 2, Ex. 1). The majority of the defendants in each case are the same, including the Department of

18 Homeland Security, Department of Justice, Executive Office for Immigration Review, and U.S.

19 Citizenship and Immigration Services; in total, seven of the nine defendants in the Later Case comprise

20 seven of the eleven defendants in the Earlier Case. All of the defendants in both cases are federal

21 agencies or officials responsible for regulating and enforcing immigration law. Both cases seek to

22 prevent these defendants from enforcing sweeping new changes made by the outgoing presidential

23 administration to asylum regulations implementing the Immigration and Nationality Act. See Pizer

24 Decl. ¶ 4, Ex. 2.

25          Moreover, Plaintiffs in both cases are similarly situated. Both cases were filed by non-profit
26 organizations dedicated to helping immigrants seek refuge from persecution through asylum or other

27 admission to this country. Pangea Complaint at 6-7; Imm. Eq. Complaint at 10-17. Plaintiffs in both

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     PLAINTIFFS’ ADMIN. MOTION                                               Case No.: 3:20-cv-09258
     TO CONSIDER RELATED CASES
             Case 3:20-cv-07721-SI         Document 85       Filed 12/21/20      Page 4 of 5




 1 cases assert organizational standing based on frustration of purpose, diversion of resources, and harm

 2 to funding. Pangea Complaint at 26-30; Imm. Eq. Complaint at 105-114. Plaintiffs in both cases also

 3 assert standing on behalf of their individual clients and members, many of whom are similarly situated

 4 as asylum seekers or members of other vulnerable immigrant groups. Pangea Complaint at 1, 27-35;

 5 Imm. Eq. Complaint at 9-11, 105.

 6          With respect to the other similarities between the Earlier and Later Cases, both cases involve
 7 recent changes made to the same sections of Defendants’ regulations, 8 C.F.R. §§ 208 and 1208, which

 8 govern the procedures for asylum and bars to asylum eligibility. Pangea Complaint at 31, 34-35; Imm.

 9 Eq. Complaint at 5. Both cases assert that Defendants’ asylum rules are arbitrary and capricious under

10 the Administrative Procedure Act because the defendants inter alia (1) failed to consider important

11 aspects of problems inherent to immigration law or adequately respond to comments and data

12 regarding asylum and immigration, (2) depart from the same longstanding immigration practices

13 without a sufficient basis, and (3) failed to provide enough opportunity for public comment. Pangea

14 Complaint at 3-4; Imm. Eq. Complaint at 6-8. Additionally, both cases seek to invalidate the asylum

15 rules at issue on the exact same ground: Because Defendant Chad Wolf lacked authority to issue the

16 rules as he unlawfully assumed the role of Acting Secretary of Homeland Security in violation of

17 statutory law and the Appointments Clause of the Constitution. Pangea Complaint at 4; Imm. Eq.

18 Complaint at 8. And both cases argue that the Defendants’ asylum rules violate the due process rights

19 of their members. Pangea Complaint at 4; Imm. Eq. Complaint at 7.

20          For these reasons, “[i]t appears likely that there will be an unduly burdensome duplication of
21 labor and expense or conflicting results if the cases are conducted before different Judges.” Local

22 Civil Rule 3-12. In short, both cases seek immediate and permanent injunctive relief, in the form of a

23 temporary restraining order, preliminary injunction, or stay under 5 U.S.C. § 705 – of many of the

24 same regulations for many of the same reasons. Pangea Complaint at 1-4, 26-35; Imm. Eq. Complaint

25 at 8. This Court already heard argument and ruled on the immediate injunctive relief sought in the

26 Earlier Case, and there is likely to be substantial overlap between the issues considered there and the

27 same four factors governing immediate injunctive relief in the Later Case.

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     PLAINTIFFS’ ADMIN. MOTION                                              Case No.: 3:20-cv-09258
     TO CONSIDER RELATED CASES
             Case 3:20-cv-07721-SI         Document 85         Filed 12/21/20      Page 5 of 5




 1          Thus, Plaintiffs respectfully request that the Court deem these cases related and assign the Later
 2 Case to Judge Illston under Civil Local Rule 3-12.

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     Respectfully submitted,
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 5 DATED: December 21, 2020                                 By: /s/ Austin Manes
                                                               Austin Manes
 6
     JENNIFER C. PIZER (SBN 152327)                    AUSTIN MANES (SBN 284065)
 7   jpizer@lambdalegal.org                            amanes@kramerlevin.com
     LAMBDA LEGAL DEFENSE AND                          KRAMER LEVIN NAFTALIS &
 8
         EDUCATION FUND, INC.                             FRANKEL LLP
 9   4221 Wilshire Boulevard, Suite 280                990 Marsh Road
     Los Angeles, California 90010                     Menlo Park, California 94025
10   Telephone: (213) 590-5903                         Telephone: (650) 752-1718
11   OMAR GONZALEZ-PAGAN*                              JEFFREY S. TRACHTMAN*
12   ogonzalez-pagan@lambdalegal.org                   jtrachtman@kramerlevin.com
     RICHARD SAENZ*                                    AARON M. FRANKEL*
13   rsaenz@lambdalegal.org                            afrankel@kramerlevin.com
     LAMBDA LEGAL DEFENSE AND                          JASON M. MOFF*
14      EDUCATION FUND, INC.                           jmoff@kramerlevin.com
     120 Wall Street, 19th Floor                       CHASE MECHANICK*
15   New York, New York 10005                          cmechanick@kramerlevin.com
16   Telephone: (212) 809-8585                         KRAMER LEVIN NAFTALIS &
                                                           FRANKEL LLP
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     bcrawford@immigrationequality.org                 New York, New York 10036
18   IMMIGRATION EQUALITY                              Telephone: (212) 715-9100
     594 Dean Street
19   Brooklyn, New York 11238
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                                                      Counsel for Plaintiffs
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     PLAINTIFFS’ ADMIN. MOTION                                                 Case No.: 3:20-cv-09258
     TO CONSIDER RELATED CASES
